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8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               No. 2:03-cr-00365-MCE
12             Plaintiff,
13        v.                                 RELATED CASE ORDER
14   HUISI GONZALES AMAYA,
15             Defendant.
     ___________________________/
16
17   UNITED STATES OF AMERICA,               No. 2:12-cv-00161-GEB
18             Plaintiff,
19        v.
20   HUITZILUOOSTLI AMAYA-
     GONZALEZ, AKA
21   HUISI GONZALES AMAYA,
22             Defendant.
     ___________________________/
23
24        The Court has received the Notice of Related Case filed on
25   May 1, 2012.
26        Examination of the above-entitled criminal actions reveals
27   that these actions are related within the meaning of Local Rule
28   123(a) (E.D. Cal. 1997).

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1    The actions involve many of the same defendants and are based on
2    the same or similar claims, the same property transaction or
3    event, similar questions of fact and the same questions of law,
4    and would therefore entail a substantial duplication of labor if
5    heard by different judges.     Accordingly, the assignment of the
6    matters to the same judge is likely to effect a substantial
7    savings of judicial effort and is also likely to be convenient
8    for the parties.
9         The parties should be aware that relating the cases under
10   Local Rule 123 merely has the result that both actions are
11   assigned to the same judge; no consolidation of the action is
12   effected.   Under the regular practice of this court, related
13   cases are generally assigned to the district judge and magistrate
14   judge to whom the first filed action was assigned.
15        IT IS THEREFORE ORDERED that the action denominated
16   2:12-cr-00161, United States of America v. Huitziluoostli Amaya-
17   Gonzalez, aka Huisi Gonzales Amaya is reassigned to
18   Judge Morrison C. England, Jr.     for all further proceedings, and
19   any dates currently set in this reassigned case only is hereby
20   VACATED.    Henceforth, the caption on documents filed in the
21   reassigned case shall be shown as 2:12-cr-00161-MCE.
22        IT IS FURTHER ORDERED that the Clerk of the Court make
23   appropriate adjustment in the assignment of criminal cases to
24   compensate for this reassignment.
25        IT IS SO ORDERED.
26
     DATED: May 8, 2012              _______________________________________
27                                   MORRISON C. ENGLAND, JR.
28                                   UNITED STATES DISTRICT JUDGE

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